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   8

   9                        UNITED STATES DISTRICT COURT
  10                      CENTRAL DISTRICT OF CALIFORNIA
  11                                WESTERN DIVISION
  12

  13
        THOMAS MORE LAW                            Case No. 2:15-cv-03048-R-FFM
        CENTER,
  14
                                                   Action Filed: April 23, 2015
                     Plaintiff,                    Trial Date:   June 28, 2016
  15           vs.
                                                    NOTICE OF PLAINTIFF’S
  16    KAMALA HARRIS, in her                       MOTION AND MOTION FOR
        Official Capacity as Attorney               SUMMARY JUDGMENT
  17    General of California,
                                                    Date:        June 6, 2016
  18                 Defendant.                     Time:        10:00 a.m.
  19                                                Courtroom:   8
                                                    Judge:       Hon. Manuel L. Real
  20

  21

  22
          NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT

  23
             TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

  24
             PLEASE TAKE NOTICE that on June 6, 2016, at 10:00 a.m., in Courtroom

  25
       8 of the above-entitled court, located at 312 N. Spring Street, Los Angeles,

  26
       California 90012, before the Honorable Manuel L. Real, Plaintiff Thomas More

  27
       Law Center (“Law Center”) hereby moves for an order granting Summary

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   1   Judgment pursuant to Fed. R. Civ. P. 56.
   2         The Law Center brings this motion on the grounds that it is entitled to
   3   summary judgment on its as-applied constitutional challenge because the material
   4   facts of this case have already been decided in the case of Americans for Prosperity
   5   Found. v. Harris, No. CV 14-9448-R, 2016 WL 1610591 (C.D. Cal. Apr. 21,
   6   2016). Furthermore, there is no dispute of material fact regarding the Law
   7   Center’s overwhelming evidence of actual burden on First Amendment rights.
   8         The Law Center’s motion is based on this Notice of Motion and Motion, the
   9   accompanying Memorandum of Points and Authorities, the Law Center’s Local
  10   Rule 56-1 Statement of Uncontroverted Facts and Conclusions of Law, the
  11   Proposed Judgment, the Declaration of Louis Castoria, the Declaration of Pamela
  12   Geller, the Declaration of Robert Spencer, the Declaration of Francia Morello, the
  13   Declaration of Melissa Wood, the Declaration of Richard Thompson, the
  14   Supplemental Declaration of Richard Thompson, the Declaration of Sally Kern,
  15   the Expert Report of Dr. Paul G. Schervish, the Expert Report of Dr. James T.
  16   McClave, and the Request for Judicial Notice.
  17         This motion is made following the conference of counsel pursuant to Local
  18   Rule 7-3, which took place on April 12, 2016.
  19

  20
       DATED: May 9, 2016              KAUFMAN DOLOWICH & VOLUCK, LLP

  21

  22
                                             /s/ Louis H. Castoria
                                             Louis H. Castoria
  23                                         Marion V. Cruz
  24                                         Ian A. Johnston
                                             Attorneys for Plaintiff
  25                                         THOMAS MORE LAW CENTER
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   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2   I.     INTRODUCTION
   3          The material facts of this case have already been decided. This Court issued
   4   its preliminary injunction in favor of the Thomas More Law Center (the Law
   5   Center”) on May 19, 2015. The order was modified by the Ninth Circuit with
   6   respect to the facial constitutional challenges brought by the Law Center and,
   7   separately, by the Americans for Prosperity Foundation (“AFPF”), but the
   8   appellate court’s decision in its consolidated ruling on appeals from the
   9   preliminary injunctions in both cases did not detract from this Court’s ability to
  10   adjudicate the as-applied challenges.
  11          After a lengthy trial on the merits, with the Court acting as fact finder,
  12   AFPF’s case1 resulted in an Order for Judgment for AFPF dated April 21, 2016.
  13   (Request for Judicial Notice (“RJN”), Exhibit C (Order for Judgment). That
  14   adjudication on the merits is binding upon the Attorney General as to all three of
  15   the findings of fact and conclusions of law stated in the Court’s Order for
  16   Judgment:
  17          (1) The Court focused on the only real issue in the case: whether the
  18   Attorney General’s interest in obtaining unredacted “Schedule B” national donor
  19   lists is, in fact, essential to its function of protecting Californians against
  20   misconduct by charitable trusts. Based on overwhelming evidence—mostly by
  21   way of admissions against interest by the Attorney General’s own witnesses, which
  22   apply with equal, dispositive force in this case—the Court found that the Attorney
  23   General could identify only five cases (out of approximately 540) in which a
  24   Schedule B form was used in an investigation, and no cases at all in which a
  25   Schedule B was the initiating cause of an investigation. AFPF, 2016 WL 1610591,
  26   1
        Americans for Prosperity Found. v. Harris (“AFPF”), No. CV 14-9448-R, 2016
  27   WL 1610591 (C.D. Cal. Apr. 21, 2016).
  28                                       1
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   1   at *2. And, the demand for Schedule B lists is not narrowly tailored to fit the
   2   Attorney General’s “interest” in a document it almost never uses. Id., at *3.
   3         (2) Donors who give anonymously to charitable trusts for public advocacy
   4   purposes have a legitimate fear of reprisal, abuse, and scorn for supporting
   5   conservative causes in today’s fractured and fractious public arena. See id., at 4.
   6   While AFPF’s evidence included evidence from its own personnel and a
   7   significant donor, Mr. Pope, the evidence was replete with such threats being made
   8   against conservative causes generally, from a video game depicting the mass
   9   murder of various conservative group representatives to news reports of violence,
  10   boycotts, threats of bodily injury, and the “outing” of donors through mass media.
  11   AFPF also introduced the uncontradicted opinions of Dr. Paul Schervish, whose
  12   opinions were backed by his studies and interviews with anonymous charitable
  13   donors who had no relation to AFPF. This evidence would, by itself, be sufficient
  14   to have preclusive effect against the Attorney General in the Law Center’s case,
  15   but the Law Center presented ample evidence of its own in support of its motion
  16   for preliminary injunction, and presents much more evidence is support of this
  17   motion. The Law Center and AFPF may have differing bases for their beliefs—
  18   religious vs. economic—but anonymous donors to both organizations have the
  19   same First Amendment and self-defense interests in staying anonymous.
  20         (3) The Court’s third finding, that the Attorney General has repeatedly been
  21   incapable of keeping confidential Schedule B forms safe from public disclosure,
  22   applies with equal force to the Law Center, since AFPF’s evidence was not unique
  23   to its own donor lists. AFPF documented over 1,700 confidential Schedule Bs
  24   erroneously uploaded to the Attorney General’s publicly-available Web site. Id., at
  25   *5. Moreover, the Attorney General failed to establish that its proposed new
  26   regulation, which it had vaunted to the Ninth Circuit as a panacea, was in effect,
  27   would actually protect Schedule Bs if it took effect, or would prevent Schedule B
  28                                     2
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   1   disclosures via California’s Public Records Act, malicious hacking of the Attorney
   2   General’s leaky web site, or employee theft of the forms. Again, the evidence was
   3   not unique to AFPF, but was conclusive as against the Attorney General.
   4           The Law Center is prepared to put on AFPF’s case in its entirety, through
   5   the voluminous record in that case plus the same two experts and Law Center’s
   6   own witnesses, but for purposes of summary judgment and issue preclusion, the
   7   Law Center’s case has already been established.
   8   II.     ARGUMENT
   9           A.    Legal Standard for Summary Judgment
  10           “The court shall grant summary judgment if the movant shows that there is
  11   no genuine dispute as to any material fact and the movant is entitled to judgment as
  12   a matter of law.” Fed. R. Civ. P. 56(a). A mere disagreement about a material
  13   issue of fact does not preclude summary judgment. Jackson v. Bank of Hawaii,
  14   902 F.2d 1385, 1389 (9th Cir.1990). Only disputes “over facts that might affect
  15   the outcome of the suit under the governing law will properly preclude the entry of
  16   summary judgment.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S.
  17   Ct. 2505, 2510, 91 L. Ed. 2d 202 (1986).
  18           B.    The Attorney General is Precluded from Re-Litigating the Issues
  19                 Decided in AFPF.
  20           After the vigorously contested litigation in Americans for Prosperity
  21   Foundation v. Kamala Harris (“AFPF2,”) No. CV 14-9448-R, 2016 WL 1610591
  22   (C.D. Cal. Apr. 21, 2016), this Court ordered that the Attorney General be
  23   permanently enjoined from requiring the Americans for Prosperity Foundation
  24   (“AFPF”) to file its Schedule B with the Registry. The Law Center seeks a
  25
       2
  26
         We refer to the Americans for Prosperity Foundation case as “AFPF” rather than
       “Harris,” and to the plaintiff in that case as AFPF, without the italics, to avoid
  27   confusion with the Law Center’s case.
  28                                        3
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    1   permanent injunction against the Attorney General’s demands for the same
    2   confidential records as AFPF: each organization’s confidential Schedule B donor
    3   lists. Because the critical facts and legal conclusions in the two cases are the same,
    4   the Attorney General is precluded from re-litigating those issues.
    5         Offensive issue preclusion appropriately applies even if the plaintiff was not
    6   a party to the prior action if “(1) the issue sought to be litigated is sufficiently
    7   similar to the issue presented in an earlier proceeding and sufficiently material in
    8   both actions to justify invoking the doctrine, (2) the issue was actually litigated in
    9   the first case, and (3) the issue was necessarily decided in the first case.” Appling
   10   v. State Farm Mut. Auto. Ins. Co., 340 F.3d 769, 775 (9th Cir. 2003); see Parklane
   11   Hosiery Co. v. Shore, 439 U.S. 322, 329-33 (1979). In addition, the application of
   12   issue preclusion must not be unfair. See Parklane Hosiery Co. v. Shore, 439 U.S.
   13   322, 330-31. All of the elements are easily satisfied here.
   14                1.     Identity of Issues for Issue Preclusion
   15         There are three issues from AFPF that are particularly appropriate for issue
   16   preclusion: (1) The collection of Schedule Bs serves no important government
   17   interest, and the collection of Schedule Bs is not narrowly tailored to any interest.
   18   (2) In contrast, anonymous donors have strong and constitutionally protected
   19   interests in maintaining their anonymity as against all-too-real threats to their
   20   liberty and safety. (3) The Attorney General cannot guarantee the confidentiality of
   21   Schedule Bs once they are collected.
   22                2.     The Issues Decided in AFPF Apply Equally in the Law
   23                       Center’s Case.
   24         The Court made findings in AFPF as to what the Attorney General does with
   25   Schedule Bs, how little the Attorney General has ever used them for the stated law
   26   enforcement goals, and how ineffectively the Attorney General has kept them
   27   confidential. As to these findings, all of the evidence is exactly the same in the
   28                                      4
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    1   two cases. There is no plaintiff-specific evidence regarding how the Attorney
    2   General uses Schedule B, how the Attorney General could obtain the type of
    3   information on Schedule B in alternative ways, or how the Attorney General has
    4   failed to maintain the confidentiality of the Schedule Bs, and indeed cannot do so
    5   under California law. No evidence was admitted in AFPF as to what the Attorney
    6   General did with AFPF’s Schedule Bs, because, like the Law Center, AFPF has not
    7   produced them, despite the Attorney General’s threats of fines and other reprisals.
    8   All the evidence in AFPF regarding the nearly nonexistent actual use of Schedule
    9   Bs in initiating or conducting investigations, and the judicial admissions by the
   10   Attorney General that other, less intrusive means exist to get the same information,
   11   addresses the Attorney General’s conduct regarding all Schedule Bs, and is not
   12   specific to AFPF.
   13         The two cases also involve the application of the same rule of law, because
   14   the Law Center seeks resolution of the same question that AFPF sought: is there a
   15   substantial relation between the disclosure requirement and a sufficiently important
   16   government interest? AFPF, 2016 WL 1610591, at *2.
   17                3.     The Attorney General Actually Litigated the Issues in an
   18                       Extensive Trial.
   19         Invoking issue preclusion also requires that the issue was “actually litigated”
   20   in the prior litigation. Appling, 340 F.3d at 775. The Attorney General cannot
   21   legitimately dispute that every aspect of AFPF’s challenge to the demands that it
   22   turn over its Schedule Bs were actually and fully litigated.
   23         AFPF was a massive case that spanned two years, involved 13 attorneys
   24   (including six from the Attorney General), produced thousands of pages of
   25   documents, created almost 200 docket entries, and ultimately resulted in a six day
   26   trial that included over 700 exhibits. (RJN, Exhibit A (AFPF docket), RJN Exhibit
   27   B (AFPF Exhibit list)). Despite repeated laments of “underfunding,” the Attorney
   28                                     5
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    1   General expending tremendous resources in litigating AFPF, and had a full and fair
    2   opportunity to be heard.
    3                4.     The Facts Were Necessarily Decided.
    4         Another element of issue preclusion is that the issues to be precluded were
    5   necessarily decided in the first case. Appling, 340 F.3d, at 775. Not only was each
    6   of the issues relied on herein necessarily decided in AFPF, each of them formed an
    7   independent basis for the judgment against the Attorney General. When, for the
    8   purposes of issue preclusion, the prior court rests its judgment on two or more
    9   independent grounds, each determination is considered necessarily decided in
   10   support of the judgment. In re Westgate-California Corp., 642 F.2d 1174, 1176
   11   (9th Cir. 1981).
   12                5.     Application of Issue Preclusion Would Not Be Unfair to the
   13                       Attorney General.
   14         Nothing about the application of issue preclusion here would be unfair to the
   15   Attorney General. Parklane Hosiery identified certain “circumstances that might
   16   justify reluctance to allow the offensive use of collateral estoppel.” Parklane
   17   Hosiery, 439 U.S. at 331. But here, as in Parklane Hosiery, none of those
   18   circumstances are present. As in Parklane Hosiery, the Attorney General “had
   19   every incentive to litigate the [prior] lawsuit fully and vigorously[.]” Further, the
   20   judgment in AFPF is not inconsistent with any other decision, AFPF having been
   21   the only Schedule B case to proceed to trial. And, since the Attorney General is
   22   bound by her witnesses’ admissions against interest under oath in AFPF, there are
   23   no “procedural opportunities” available in the Law Center’s case that were not
   24   available in the AFPF case. Id., at 332. That is what preclusion means: no
   25   “mulligans” as to dispositive facts and legal conclusions.
   26         Furthermore, this is not a case where the plaintiff delayed in filing to “wait
   27   and see” the result of the prior case. The Law Center’s case was filed five months
   28                                     6
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    1   after AFPF’s case, simply because the Attorney General’s written demand
    2   threatening sanctions against the Law Center was dated five months after the
    3   substantially same demand was made to the Law Center. (RJN, Exhibit A, (AFPF
    4   docket), RJN, Exhibit E (Law Center Docket), RJN, Exhibit F (AFPF sanction
    5   letter), Declaration of Richard Thompson in Support of Plaintiff’s Application for
    6   Temporary Restraining Order (“Thompson Decl.”), Exhibit C (Law Center
    7   sanction letter)).
    8          C.     The Collection of Schedule Bs, as Contrasted to Overseeing
    9                 Charitable Trusts, Serves No Important Government Interest,
   10                 Therefore Failing the “Exacting Scrutiny” Test.
   11          The issue of whether the government has any important interest in
   12   collecting Schedule Bs was necessarily decided against the Attorney General in
   13   AFPF. The Court concluded: “The record before the Court lacks even a single,
   14   concrete instance in which pre-investigation collection of a Schedule B did
   15   anything to advance the Attorney General’s investigative, regulatory or
   16   enforcement efforts.” AFPF, 2016 WL 1610591, at *2
   17          The Court ultimately held that the Attorney General had a “failure to
   18   establish a substantial relationship between her demand for [AFPF’s] Schedule B
   19   and a compelling governmental interest…” Id., at *4. The Attorney General’s
   20   demand for the Law Center’s Schedule B does not serve a “compelling” state
   21   interest, because of her exceedingly rare use of Schedule Bs, the overbreadth of
   22   her demand, the lack of any active investigation of AFPF or the Law Center, and
   23   the myriad other means available to her to accomplish her regulatory goals.
   24          The Attorney General has not alleged any particular law enforcement
   25   interest in the Law Center, apart from retaliation for filing this suit. Therefore,
   26   there is no reason to believe that the Attorney General’s interest in the Law Center
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    1   is any greater than its interest was in AFPF. Thus, the unambiguous findings in
    2   AFPF cannot be litigated again.
    3                1. Schedule Bs Are Almost Never Used by the Registry or the
    4                   Attorney General.
    5         For each year from 2001 through 2014, the Attorney General accepted the
    6   Law Center’s annual registration and listed the foundation as an active charity in
    7   compliance with the law. (Thompson Decl., ¶11, 14). It was not until 2012 that
    8   the Attorney General first notified the Law Center that its filing was incomplete
    9   because of the lack of Schedule B. Id., at ¶12. The reason why the Law
   10   Center’s ‘lack of compliance’ went unnoticed for over a decade is that the
   11   Attorney General does not use the Schedule B in its day-to-day business. This
   12   admission against interest was made by David Eller, the Registrar for the
   13   Registry of Charitable Trusts in the Department of Justice. (Declaration of
   14   Louis H. Castoria (“Castoria Decl.”), Exhibit A, Eller Test. 3/3/16, p. 75:16–
   15   20)(“Q: Mr. Eller, does the registry put the Schedule B to any use as part of its
   16   day-to-day business? A: No, they don’t.”)).
   17         Schedule Bs are hardly ever used in investigations either. Steven Bauman,
   18   a supervising investigative auditor for the Attorney General, testified that out of
   19   the approximately 540 investigations conducted over the past ten years in the
   20   Charitable Trusts Section, only five instances involved the use of a Schedule B.
   21   (Castoria Decl., Exhibit A, Bauman Test. 3/4/16, p. 22:4–23:25). The Court
   22   correctly concluded in AFPF that the “Attorney General does not review
   23   Schedule Bs upon collection and virtually never uses them to investigate
   24   wrongdoing.” AFPF, 2016 WL 1610591, at *6.
   25         Mr. Bauman’s admission at trial stands in stark contrast to his
   26   representations under oath to the Court in his Declaration opposing the Law
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    1   Center’s preliminary injunction. Specifically, Bauman made the following
    2   statement in his Declaration:
    3         “In particular, I use the information contained in Schedule B, in
    4         conjunction with other information required under state law to
    5         determine, among other things, whether donors are potentially
    6         donating funds to the charity to pass money through to their family
    7         members, or to fund the donor’s enterprise, project, or venture.
    8         Schedule B information can also be used to determine whether donors
    9         are related to entities that are doing business with a charity. I have
   10         also used the information contained in Schedule B to find witnesses
   11         for my investigations.”
   12         (Castoria Decl., Exhibit B, Decl. of Steve Bauman, ¶5).
   13         Bauman’s stated uses of Schedule Bs and his reference to plural “donors”
   14   and “witnesses” give the false impression that he routinely uses Schedule Bs in
   15   investigations. But at trial in AFPF, Bauman could only come up with only one
   16   single investigation where he ever used a Schedule B:
   17         Q. And over that ten-year period, if I’m remembering right,
   18         you came up with one investigation, one, that you were
   19         personally involved in that implicated Schedule B; isn’t that
   20         true?
   21         A. There was one that I recalled.
   22         (Castoria Decl., Exhibit A, Bauman Test. 3/4/16, p. 19:15-19).
   23         The Attorney General thus failed to establish a “sufficiently important”
   24   governmental interest in forcing charities to divulge their anonymous donors’
   25   identities. This failure established an independent, sufficient basis for the
   26   judgment, because “Exacting scrutiny requires . . . a ‘sufficiently important’
   27   governmental interest.” AFPF, 2016 WL 1610591, at *2. As the Court noted, this
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    1   standard of scrutiny “encompasses a balancing test, wherein the strength of the
    2   governmental interest must reflect the seriousness of the actual burden on First
    3   Amendment rights.” Id., citing John Doe No. 1 v. Reed, 561 U.S. 186, 196 (2010).
    4           In this balancing test, the Attorney General’s declared “need” to collect
    5   every Schedule B list of national donors from every public charitable trust has the
    6   weight of a hummingbird’s feather. On the other side of the scale, the Law
    7   Center’s and its donors’ right to be free of government violation of their privacy
    8   has the weight of the First Amendment to the Constitution.
    9                 2. The Collection of Schedule Bs is Not Narrowly Tailored to the
   10                    Attorney General’s Interest.
   11           In AFPF this Court held that in the context of associational rights, as
   12   opposed to electoral rights, “even though the Attorney General’s purpose [may] be
   13   legitimate and substantial, that purpose cannot be pursued by means that broadly
   14   stifle fundamental personal liberties when the end can be more narrowly
   15   achieved.” Id., at *3 (citing Louisiana v. NAACP, 336 U.S. 293, 296 (1961).
   16           As the Court found, the Attorney General’s method for collecting Schedule
   17   Bs is not sufficiently narrowly tailored: “Here, like in NAACP, even assuming the
   18   Government presented a sufficiently important governmental interest, its interests
   19   can be more narrowly achieved as evidenced by the testimony of the Government’s
   20   own attorneys.” Id., (citing Louisiana v. NAACP, 366 U.S., at 296). The Court
   21   specifically referred to Bauman’s testimony, wherein he admitted that he
   22   successfully audited charities for years without using Schedule Bs. Id. The court
   23   concluded: “If heightened scrutiny means anything, it at least requires the
   24   Government to convincingly show that its demands are substantially related to a
   25   compelling interest, including by being narrowly tailored to achieve that interest.”
   26   Id.
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    1         The factual finding that the Attorney General’s regulatory interests can be
    2   achieved by means more narrowly tailored to a specific investigation is binding on
    3   the Attorney General in the Law Center’s case, and cannot be re-litigated. The
    4   Attorney General had to prevail on this issue in AFPF to meet the heightened
    5   scrutiny standard applicable to AFPF’s as-applied challenge. The Attorney
    6   General bears the same burden in the Law Center’s case, but cannot meet it given
    7   the admissions against interest by the Attorney General’s witnesses in AFPF.
    8         Repeatedly, those witnesses admitted that there were less intrusive means to
    9   ferret out self-dealing, abuse of funds, and other misconduct. They could and
   10   sometimes did issue subpoenas. (Castoria Decl., Exhibit A, Ibanez Test. 3/4/16, p.
   11   69:9-19). They could obtain information from the IRS, if they opted to accept the
   12   IRS security procedures, which they did not. (Castoria Decl., Exhibit A, Johns
   13   Test. 2/26/2016, p. 14:20–17:20). By failing to prove that the Registry’s practices
   14   were narrowly tailored, the Attorney General created another sufficient and
   15   independent basis for the judgment in AFPF, and for granting summary judgment
   16   to the Law Center.
   17         D.    The Attorney General Cannot Maintain the Confidentiality of
   18               Schedule Bs.
   19         Having determined the negligible relevance of Schedule Bs to the Attorney
   20   General’s regulatory function, the Court in AFPF thus turned to the actual burden
   21   placed on First Amendment rights. The Attorney General argued in AFPF, as in
   22   this case, that donors’ First Amendment rights would not be burdened because the
   23   Schedule Bs would be held confidentially by the Attorney General. AFPF, 2016
   24   WL 1610591, at *5.
   25         Yet Attorney General has not maintained confidentiality. The plaintiff’s
   26   expert in the AFPF trial found that 1,778 confidential Schedule Bs were publically
   27   available on the Registry’s website. Id. That expert, Dr. James T. McClave,
   28                                     11
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    1   Ph.D., (“Dr. McClave”) has been retained by the Law Center to repeat his
    2   testimony in this case, though issue preclusion would make this waste of the
    3   Court’s time to hear the reprise unnecessary. (Expert Report of Dr. James T.
    4   McClave). Dr. McClave found in his report that “numerous confidential
    5   documents were publically available on the Registry in 2015 and likely well before
    6   that.” (Id., at 6).
    7          Based on a complete record, the Court rejected the Attorney General’s
    8   promise of confidentiality: “As made abundantly clear during trial, the Attorney
    9   General has systematically failed to maintain the confidentiality of Schedule B
   10   forms” AFPF, 2016 WL 1610591, at *5. “Accordingly, the Court finds against the
   11   Attorney General on the alternative grounds that her current confidentiality policy
   12   cannot effectively avoid inadvertent disclosure.” Id. The Attorney General cannot
   13   re-litigate this issue.
   14          The release, even if inadvertent, of an anonymous donor’s identity creates an
   15   irreversible loss. As this Court noted: “Once a confidential Schedule B has been
   16   publically disseminated via the internet, there is no way to meaningfully restore
   17   confidentiality.” Id.
   18          Even in a perfect data security system, the Attorney General cannot protect
   19   Schedule Bs from public disclosure. Under current California Law, Schedule B
   20   information is subject to disclosure pursuant to the California Public Records Act
   21   as well as Section 310 of title 11 of the California Code of Regulations, which
   22   allows for public inspection of the Registry’s records. See Cal. Gov. Code §6250-
   23   6270.5. The fact that any Schedule B is subject to public disclosure under
   24   California law was confirmed by the head of the Registry, Tania Ibanez, at the trial
   25   of AFPF. (Castoria Decl., Exhibit A (Ibanez Test. 3/4/2016, p. 94:1–7, 95:23–
   26   96:3). Further, as the Attorney General’s witnesses were forced to admit in trial,
   27   the Schedule Bs in their “safekeeping” face risks of malicious disclosures,
   28                                      12
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    1   generated internally or by external data bandits. (Castoria Decl. Exhibit A, Eller
    2   Test. 3/3/2016 at 99:4–100:11).
    3         E.     Collecting Schedule Bs Creates an Actual Burden on First
    4                Amendment Rights.
    5                1.     The Law Center Easily Establishes An Actual Burden on
    6                       First Amendment Rights.
    7         In order for the Attorney General to prevail on an as-applied challenge, “the
    8   strength of the Governmental interest must reflect the seriousness of the actual
    9   burden on First Amendment rights.” AFPF, 2016 WL 1610591, at *2. Buckley v.
   10   Valeo suggested that to establish an actual burden on First Amendment rights, the
   11   “evidence offered need show only a reasonable probability that the compelled
   12   disclosure of a party’s contributors’ names will subject them to threats, harassment,
   13   or reprisals from either Government officials or private parties.” Buckley v. Valeo,
   14   424 U.S. 1, 74, 96 S. Ct. 612, 661, 46 L. Ed. 2d 659 (1976).
   15         Nonetheless, courts have argued that even the minimal evidentiary showing
   16   in Buckley was only required after the Government had demonstrated a properly
   17   tailored, compelling governmental interest: “[T]he [Buckley] Court required such
   18   an evidentiary showing only after concluding that the disclosure requirements at
   19   issue survived strict scrutiny as the least intrusive means of achieving several
   20   compelling governmental interests.” Am. Fed’n of Labor & Cong. of Indus.
   21   Organizations v. Fed. Election Comm’n, 333 F.3d 168, 176 (D.C. Cir. 2003)
   22   (emphasis added).
   23         The Law Center easily surpasses its low evidentiary burden, as there is a
   24   wealth of evidence that the Attorney General’s disclosure demands will subject
   25   donors to the same threats, harassment, and reprisals that the Law Center and its
   26   clients already face.
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    1                2.     Disclosure to a State Official is a Cognizable First
    2                       Amendment Injury in Itself.
    3         The disclosure of anonymous donors’ identities just to state officials is in
    4   itself a cognizable First Amendment injury. This fact has been repeatedly held by
    5   the Supreme Court: “But we have repeatedly found that compelled disclosure, in
    6   itself, can seriously infringe on privacy of association and belief guaranteed by the
    7   First Amendment.” Buckley v. Valeo, 424 U.S. at 64.
    8         Dr. Paul G. Schervish (“Dr. Schervish”), Ph.D., Professor Emeritus of
    9   Sociology, has been widely recognized for his extensive work on charitable giving.
   10   (Expert Report of Dr. Paul G. Schervish, (“Schervish Report”) ¶ 11-13). In Dr.
   11   Schervish’ s report, he found that donors may “reasonably fear that disclosure of
   12   their gifts to the Attorney General will open them up to persecution by their state
   13   or local government, or an audit by the IRS.” (Id., at ¶ 31). Dr. Schervish also
   14   noted in his report that the perceived use of government informants in mosques has
   15   had a chilling effect on attendees’ charitable giving, for fear that the informant
   16   might report their individual donations to government officials. (See Id.).
   17         Fear of political retaliation by state officials is heightened for donors to a
   18   conservative advocacy organization like the Law Center, particularly within the
   19   decidedly liberal California Attorney General’s office. In particular, Law Center
   20   donors have a “healthy fear of government” and have “witnessed retaliation by
   21   government officials to conservative causes.” (Id., at ¶ 48). The fact that the
   22   Attorney General is an elected official currently running for national political
   23   office makes the potential for political rivalry even more acute. (Id., at ¶ 49).
   24   Under these circumstances, “requiring the Law Center to disclose the names and
   25   addresses of its donors to the Registry would reasonably chill their contributions to
   26   the Law Center and truncate their liberty.” (Id. at ¶ 48).
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    1         Attorneys General from other states agree that disclosure to state officials is
    2   itself a cognizable First Amendment injury. The state Attorneys General of
    3   Arizona, Michigan, and South Carolina argued in an amicus brief filed with the
    4   Supreme Court in Center for Competitive Politics v. Harris, No. 15-152 (U.S.),
    5   stating that “disclosure to a state official is a cognizable [F]irst [A]mendment
    6   injury” and that state officials have the “potential to misuse donor information.”
    7   (RJN, Exhibit D, at 5).
    8                3.     Donors’ Speech is Reasonably Chilled by Loss of
    9                       Anonymity.
   10         Donors who expect that their identities will be revealed to the public will be
   11   reasonably chilled from donating. In Dr. Schervish’s report, he concluded that the
   12   Law Center’s donors are typical in their wish to be anonymous, that they
   13   reasonably fear “harassment, reprisals, and threats” if their identities are revealed,
   14   and that those fears produce a chilling effect on donors ability to participate in
   15   Freedom of Association and Free Expression. (Schervish Report, at ¶ 20-21).
   16         In particular, in today’s politicized climate, business, individuals and
   17   foundations are punished for their political associations. (Id. at ¶ 33). Other
   18   donors have been punished for their financial support of conservative causes:
   19   Donors to the California Proposition 8 campaign in support of the traditional
   20   definition of marriage faced threats, boycotts, harassment, and vandalism after
   21   their information was posted on the internet. (Id. at ¶ 32). Mozilla co-founder
   22   Brendan Eich was forced to resign as CEO following attacks on social media after
   23   it became public that he supported the Proposition 8 campaign. Chick-fil-a also
   24   suffered a significant backlash after its CEO revealed unpopular political views
   25   regarding gay marriage, while Hobby Lobby was threatened with a boycott after its
   26   Supreme Court case on religious accommodation. (Id. at ¶ 33). Retaliation for
   27   public advocacy can operate in the other direction as well. McDonalds faced a
   28                                     15
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    1   boycott until one of its executives resigned from an LGBT group, while Planned
    2   Parenthood’s corporate donors faced similar boycotts. (Id. at ¶ 34).
    3         Donors’ desire for anonymity is especially important in the age of the
    4   Internet. The leak of a donor list can now travel instantly, and “be copied, mined,
    5   and reposted endlessly.” (Id. at ¶ 39). After content is posted online, “there is no
    6   un-ringing the bell – once a donor’s information enters the public domain, it will
    7   remain public for all time.” (Id.).
    8         The two forces of the increased acridity of political discourse, along with the
    9   privacy-destroying pressures of the internet, have converged to establish a trend of
   10   reasonable donors being very fearful of exposure. (Id. at ¶ 40). When anonymity
   11   cannot be achieved, the fear of exposure reasonably leads donors to opt-out, rather
   12   than to engage in the freedoms of association and speech.
   13                4.     If the Donors to Thomas More Law Center Were Disclosed,
   14                       Those Donors Would Face a Reasonable Likelihood of
   15                       Threats, Harassment, or Reprisal.
   16         The Law Center’s evidentiary burden is not high: “speakers must be able to
   17   obtain an as-applied exemption without clearing a high evidentiary hurdle.” (Alito,
   18   J., concurring) John Doe No. 1 v. Reed, 561 U.S. at 204. The types of evidence
   19   sufficient to succeed on an as-applied challenge include “past or present
   20   harassment of members due to their associational ties, or of harassment directed
   21   against the organization itself, or a pattern of threats or specific manifestations of
   22   public hostility.” AFPF, 2016 WL 1610591, at *4 (citing Buckley, 424 U.S. at 74).
   23   As the Declarations of witnesses submitted in support of this motion clearly
   24   demonstrate, the Law Center and its publicly-known clients have faced
   25   harassment, ranging from obscene emails to assassination attempts.
   26                       i.     Declarations of Richard Thompson
   27         The Law Center President and Chief Counsel, Richard Thompson, notes that
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    1   the causes for which the Law Center advocates are not always politically popular,
    2   though its donors’ belief in them is deeply held and founded on sincere religious
    3   convictions. (Supplemental Declaration of Richard Thompson, (“Supp. Thompson
    4   Decl.”) ¶ 6). Some examples of the Law Center’s advocacy include:
    5         a) Filing amicus curiae briefs in U.S. Courts of Appeal and the United
    6             States Supreme Court in opposition to same-sex marriage, including a
    7             brief in support of California’s voter-enacted Proposition 8;
    8         b) Supporting free speech rights of pro-life student and non-student groups;
    9         c) Advocating for religious freedom, but with a concern for the domestic
   10             activities of radical Islamic groups; and
   11         d) Supporting a strong U.S. military and their families.
   12         (Id.).
   13         Many of the Law Center’s donors would be deterred from participating in
   14   the Law Center’s activities if they were exposed to the types of hateful, abusive
   15   derision that the Law Center itself often receives from those who disagree with the
   16   Law Center when its positions are stated publicly or are reported in mass media.
   17   (Thompson Decl., ¶ 8).
   18                      ii.    Declaration of Francia Morello
   19         The Law Center is dependent upon charitable donations for its existence and
   20   operation. (Declaration of Francia Morello (“Morello Decl.”), ¶ 4). The Law
   21   Center sends “Direct Mailers” which are letters and membership forms to the
   22   general public to invite membership and donations. (Id., ¶¶ 3, 7). The Law Center
   23   often receives negative, hateful, and hostile communications because of the cases it
   24   handles and the causes it supports. (Id., ¶ 17). For example, the Law Center has
   25   received negative and obscene comments on communications received on direct
   26   mailers. (Id.). These include:
   27      - Comments telling the Law Center to “fuck off,” or “go to hell,” and referring
   28                                     17
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    1         to its supporters as “pathetic followers.” (Id.).
    2      - A large volume of hateful emails and obscene emails calling the Law Center
    3         “misguided homophobic morons,” comparing it to the Ku Klux Klan, and
    4         calling its supporters “assholes.” (Id., ¶ 12).
    5      - Pornographic materials that were mailed via direct mail return. (Id., ¶ 16).
    6         Donors would be deterred from participating in the Law Center’s activities if
    7   they were exposed to the types of hateful and negative communications that the
    8   Law Center receives. (Id., ¶ 21).
    9                       iii.   Declaration of Pamela Geller
   10         Pamela Geller is the co-founder and President of American Freedom
   11   Defense Initiative (“AFDI”), a non-profit organization dedicated to freedom of
   12   speech, freedom of conscience, freedom of religion, and individual rights.
   13   (Declaration of Pamela Geller (“Geller Decl.”), ¶¶ 3, 4). The Law Center provided
   14   AFDI with legal counsel in a case in Detroit, arising from that city’s transit
   15   authority’s refusal to allow print advertisements on its buses that were critical of
   16   radical Islamic threats. (Id., ¶ 8).
   17         Ms. Geller has been subject to hateful insults, comments and death threats,
   18   including an attempt on her life by two ISIS operatives at an event where she was
   19   scheduled to speak on May 3, 2015. (Id., ¶ 12). The event was partially sponsored
   20   by AFDI in Garland, Texas, held in protest of the terrorist killings in Paris, France
   21   earlier that year after the satiric magazine Charlie Hebdo had published a cartoon
   22   of the Prophet Muhammad. (Id.). The event was intended to support free speech
   23   rights through an art exhibit of depictions of the Prophet Muhammad. (Id.)
   24         Shortly following the event, an American ISIS leader, Abu Ibrahim Al
   25   Ameriki, issued a Fatwah—a legal pronouncement binding on his followers—
   26   calling for her assassination. (Id., ¶ 13). The Fatwah stated “[e]veryone who
   27   houses her events, gives her a platform to spill her filth are legitimate targets.”
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    1   (Id., ¶ 14).
    2          This was not the only attack on Ms. Geller. As the Washington Post
    3   reported on April 21, 2016, an ISIS operative in Boston had been ordered to kill
    4   her in New York after the Garland, Texas attack. (Id., ¶ 16). Two men have been
    5   charged with plotting to kill Ms. Geller. (Id.).
    6          Since the May 3, 2015 assassination attempt, Ms. Geller’s life changed
    7   dramatically. For example:
    8      - Ms. Geller has received so many hateful, threatening, and obscene emails
    9          from supporters of jihad—including very graphic death threats—that her
   10          emails are now forwarded to the FBI, the New York City Police Department,
   11          and the federal Joint Terrorism Task Force.
   12      - Recent emails threatening to kill her state: “I will withdraw the bones of
   13          your body” “I wish you were in front of me so I could kill you then piss all
   14          over your ugly dead body” “Coming to slay you[.] STILL ALIVE . . . NOT
   15          FOR LONG!!!!!!!”
   16      - Jihadists have posted Ms. Geller’s home address, including photographs, on
   17          Twitter, making her an easier target to find.
   18      - As a result of the threats against her, Ms. Geller is no longer able to venture
   19          outside her home without incurring private security guard costs of roughly
   20          $4,000 each time.
   21          (Id., ¶ 17).
   22          The list of donors that the Attorney General seeks from the Law Center is
   23   information that jihadists would like to get their hands on. (Id., ¶ 19). The chilling
   24   effect upon donors to the Law Center would be devastating if they risked reprisals
   25   from jihadists. (Id.).
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    1                         iv.   Declaration of Robert Spencer
    2            Robert Spencer, is co-founder and Vice President of AFDI. (Declaration of
    3   Robert Spencer (“Spencer Decl.”), ¶ 3). Through AFDI and his website,
    4   jihadistwatch.org, Mr. Spencer exercises free speech and provides coverage
    5   regarding the threat of jihadist terror groups, such as ISIS. (Id., ¶ 9).
    6            Mr. Spencer routinely receives threats of violence or death, including
    7   communications that evidence that he is being stalked. Examples include:
    8      - At an event in Stuttgart, Germany, he was told by a stranger in the crowd
    9            that “if there weren’t so many police here, you’d be dead by now.”
   10      - Emails stating “Specner (sic) is still at large after tracing him from NEW-
   11            YORK yesterday. Can someone tell me where he lives then I will show him
   12            his ability;” and “Mr (sic) Spencer Why dont (sic) you still not telling me a
   13            location to meet you right away. I would treat you like a GOAT.”
   14            Based on Mr. Spencer’s experience, anyone who engages in the type of
   15   work that he does receives these kinds of threats. (Id., ¶ 18). One example is an
   16   individual who voluntarily made and sold t-shirts for Mr. Spencer’s website.
   17   When Mr. Spencer met this individual, he learned that the individual abruptly
   18   stopped making the shirts because the individual’s spouse was worried about the
   19   individual being targeted for jihad because of his association with Mr. Spencer.
   20   (Id.).
   21                         v.    Declaration of Melissa Wood
   22            Ordinary citizens like Melissa Wood, who have publicly exercised their
   23   freedom of speech, also experience harassment and threats.
   24            Ms. Wood is the wife of John Kevin Wood (“John”), who served in the U.S.
   25   Marine Corps for eight years. John and Melissa have a teenage daughter (“C.W.”)
   26   who attends La Plata High School in La Plata, Maryland. (Declaration of Melissa
   27   Wood (“Wood Decl.”), ¶ 3).
   28                                      20
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    1         John discovered that C.W. was being forced by her World History teacher to
    2   complete assignments that promoted Islam. (Id., ¶ 4). In January 2016, with the
    3   help of the Law Center, the Woods filed a federal civil rights action against
    4   Defendants Charles County Public Schools, the Board of Education of Charles
    5   County, and the Principal and Vice Principal of La Plata High School. (Id., ¶ 7).
    6         The Woods are no longer anonymous citizens. (Id., ¶ 8). Ms. Wood and her
    7   family have experienced an extreme amount of stress, have lost friends, and have
    8   received death threats and threats of physical violence. (Id., ¶ 10). These threats
    9   and hateful comments affect Ms. Wood personally and keep her up at night. (Id.).
   10   Some examples include:
   11      - A Facebook message sent to John on May 28, 2015, from a person that
   12         claims to go to C.W.’s high school that states: “You racist I go to la plata. I
   13         DARE you to come here and make that threat again. I see your daughter
   14         Melissa before. Ill stab her stomach to leave a hole and then hang a hook
   15         inside her and hang her from a tree. The brown skin man has killed your
   16         friends, racist americunt. I’ll find you in la plata and stab your body open
   17         and piss in it in front of your pathetic racist kids! Long live Asians, kill
   18         racist whites. Kill the marines. Jokes on you racist.” The same person sent
   19         another message to John on June 1, 2015, which states, “Your blonde wife
   20         comes to my house.” (Id., ¶ 13).
   21      - In approximately November or December 2014, Federal Bureau of
   22         Investigation (FBI) agents visited Ms. Wood, saying they heard “chatter”
   23         about her husband. The FBI agents instructed her to put their phone
   24         numbers on speed dial and warned John to pay attention to his surroundings
   25         at all times. (Id., ¶ 14).
   26                       vi.    Declaration of Representative Sally Kern
   27         Sally Kern is a member of the Oklahoma House of Representatives,
   28                                     21
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    1   representing the 84th District. (Declaration of Sally Kern (“Kern Decl.”), ¶
    2   3). The Law Center provided Representative Kern (“Rep. Kern”) with legal
    3   counsel in 2008 when she received national attention and hateful, insulting, and
    4   lewd comments for her remarks opposing homosexual marriage. (Id., ¶ 4).
    5         In 2008, Rep. Kern gave a presentation relating to out-of-state activists
    6   funding or supporting of an individual who was at the time running for state-wide
    7   office in Oklahoma. (Id., ¶ 5). An out-of-context snippet of that presentation was
    8   published on YouTube. (Id.). The following week, Rep. Kern received thousands
    9   of emails, letters and phone calls from individuals and groups who did not agree
   10   with her opinion on homosexuals. (Id.). She received approximately 30,000
   11   emails in one week. (Id.). Below are samples of emails sent in March 2008:
   12             a. “I heard what you said and you should be killed you stupid cunt
   13                bitch!”
   14             b. “Why don’t you do the world a favor and kill yourself, you failed
   15                abortion. The reason this country is so incredibly f*cked up is because
   16                of knuckledragging, mouthbreathers like you. Crawl back under your
   17                rock with your ‘bible’ and wait for the rapture.”
   18             c. “I sincerely hope you die a slow, horrible death due to breast cancer,”
   19                which was signed “Sincerely….Toronto (land of gay rights and gay
   20                marriage) Canada…”
   21             (Id., ¶ 6).
   22         Rep. Kern received a threatening communication while on the floor of the
   23   Oklahoma House of Representatives. As a result and due to concerns regarding
   24   her safety, a state trooper was assigned to follow her from her office at the State
   25   Capitol to her home for her security. (Id., ¶ 7).
   26         The public scrutiny Rep. Kern received following the release of portions of
   27   her leaked presentation has affected her and her family. (Id., ¶ 9). Based on Rep.
   28                                     22
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    1   Kern’s experience, people who become publicly known to support conservative,
    2   religious-based values are likely to be subject to hateful, insulting and threatening
    3   communications, such as the ones she received. (Id., ¶ 11).
    4                       vii.   The Issue of First Amendment Burden is Properly
    5                              Resolved on Summary Judgment.
    6         The Attorney General may attempt to downplay these facts, but their
    7   cumulative effect is horrific. In comparison to the Declarations and voluminous,
    8   threatening and obscene emails the Law Center has presented, the Attorney
    9   General is limited to a record of five times that a Schedule B was ever used in an
   10   investigation. How many donors need to be ostracized, tormented, or worse before
   11   the Attorney General drops her demands for anonymous donor lists that she hordes
   12   but almost never uses?
   13         The “right level” of First Amendment harm that the Law Center needs to
   14   demonstrate as a part of the balancing test is a matter of law, which is properly
   15   resolved on summary judgment. See Am. Fed’n of Labor & Cong. of Indus.
   16   Organizations v. Fed. Election Comm’n, 333 F.3d 168, 177 (D.C. Cir. 2003)
   17   (Finding, in an election setting, where the government interest is very strong, that
   18   the plaintiff made sufficient showing under Buckley to warrant summary
   19   judgment); Averill v. City of Seattle, 325 F. Supp. 2d 1173, 1178 (W.D. Wash.
   20   2004) (same); New York Civil Liberties Union, Inc. v. Acito, 459 F. Supp. 75, 88
   21   (S.D.N.Y. 1978) (same)).
   22
              F.     The Attorney General’s Demand Infringes the Law Center’s and
   23
                     its Donors’ First Amendment Right to Free Exercise of Religion
   24
                     and Fourth Amendment Right to be Free of Unreasonable Search
   25
                     and Seizure.
   26

   27

   28                                     23
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    1          The causes for which the Law Center advocates and its donors’ belief in
    2   them are deeply held and founded on sincere religious convictions. Therefore,
    3   while the Attorney General’s demand for the names and addresses of the Law
    4   Center's contributors does not directly target religious practice on its face, it has the
    5   effect of burdening the Law Center’s and its donors’ right to free exercise of
    6   religious expression under the First Amendment.
    7          The demand also violates the Fourth Amendment because it constitutes an
    8   unreasonable search and seizure, without due process or probable cause, by the
    9   Attorney General. The Attorney General’s stated governmental interest in
   10   obtaining the Law Center’s donor list is to detect and prevent charitable fraud.
   11   However, the demand is fatally overbroad in that it demands confidential, private
   12   information that is not necessary for the Attorney General to perform her stated
   13   governmental purpose. Thus, the Attorney General’s demand constitutes a search and
   14   seizure that is warrantless, suspicionless, arbitrary, and unreasonable.
   15          Because the disclosure of donors implicates several constitutional
   16   protections, including freedom of speech, religion, assembly, association, right to
   17   petition the government for redress, and privacy, the requirement is subject to strict
   18   scrutiny. See Am. Family Ass'n, Inc. v. City & Cnty. of San Francisco, 277 F.3d
   19   1114, 1124 (9th Cir. 2002) (citing Miller v. Reed, 176 F.3d 1202, 1206 (9th Cir.
   20   1999) (internal quotation and citation omitted)).
   21          The Law Center’s application for an injunction is, inter alia, based on
   22   violations of its and its donors’ rights to free exercise of religion and right to be
   23   free from unreasonable search and seizure, which were not raised in the AFPF
   24   case. Thus, the evidence supporting a permanent injunction in this case is even
   25   stronger than that of AFPF. Accordingly, summary judgment in favor the Law
   26   Center is warranted.
   27   //
   28                                       24
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    1   III.      CONCLUSION
    2             Having established that there is no triable issue of fact as to Plaintiffs’ as-
    3   applied challenge, the Law Center is entitled to summary judgment. The evidence
    4   is overwhelming, even without issue preclusion, to establish the Law Center’s right
    5   to a permanent injunction as a matter of law.
    6

    7
        DATED: May 9, 2016                          KAUFMAN DOLOWICH & VOLUCK,
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                                                    LLP
    9

   10
                                                      /s/ Louis H. Castoria
   11                                                 Louis H. Castoria
                                                      Marion V. Cruz
   12
                                                      Ian A. Johnston
   13                                                 Attorneys for Plaintiff
                                                      THOMAS MORE LAW CENTER
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               NOTICE OF PLAINTIFF’S MOTION AND MOTION FOR SUMMARY JUDGMENT
